Case 2:18-cv-03007-JS-AKT Document 242 Filed 11/21/19 Page 1 of 4 PageID #: 1398
                                                                               eeplaw.com
                                                                               80 Pine Street, 38th Floor
                                                                               New York, New York 10005
                                                                               T. 212.532.1116 F. 212.532.1176

                                                                               New Jersey Office
                                                                               576 Main Street, Suite C
                                                                               Chatham, New Jersey 07928

                                                                               JOHN ELEFTERAKIS*
                                                                               NICHOLAS ELEFTERAKIS
                                                                               RAYMOND PANEK

                                                                               OLIVER R. TOBIAS
                                          November 21, 2019                    JEFFREY B. BROMFELD
                                                                               FAIZAN GHAZNAVI
                                                                               GABRIEL P. HARVIS
 BY ECF & FEDEX                                                                BAREE N. FETT
                                                                               STEPHEN KAHN
 Honorable Joanna Seybert                                                      EVAN M. LA PENNA
 United States District Judge                                                  KRISTEN PERRY – CONIGLIARO
 Eastern District of New York                                                  AIKA DANAYEVA
                                                                               ARIANA ELEFTERAKIS
 Alfonse M. D’Amato Federal Building                                           MICHAEL INDELICATO
                                                                               MICHAEL MARRON
 100 Federal Plaza                                                             DOMINICK MINGIONE
                                                                               JOSEPH PERRY
 Central Islip, New York 11722                                                 MARIE LOUISE PRIOLO *
                                                                               KEYONTE SUTHERLAND
                                                                               DANIEL SOLINSKY
       Re:     Jackson v. Nassau County, et al., 18 CV 3007 (JS) (GRB)         ANDREW VILLA

                                                                               *Also Admitted In New Jersey
 Your Honor:

       I represent plaintiff in the above-referenced matter. I write to respectfully bring
 to the Court’s attention an apparent Rule 11 violation by counsel to the Freeport
 defendants that plaintiff respectfully submits warrants the striking of portions of the
 Freeport defendants’ motion to dismiss and related filings. Plaintiff also respectfully
 requests leave to amend the complaint.

 Background

        From the outset, counsel for the Freeport defendants has argued his clients’ “non-
 involvement” as a complete defense in this litigation, including moving to dismiss on
 this basis and resisting discovery and disclosure obligations. As defense counsel
 explained in a recent letter to the Court:

               The Village Defendants’ defense in this case is non-
               involvement, and thus, it is the Village Defendants’ position
               at this time that no witnesses, other than the defendants
               thereto, can provide discoverable information to support
               their defenses.

 DE #221, p. 2; see Affidavit of Miguel Bermudez in Support of Freeport Defendants’
 Motion to Dismiss, DE #169-7, ¶ 7 (“[T]he Freeport Police Department was not
 responsible for the investigation…in this matter.”); Declaration of Keith M. Corbett in
Case 2:18-cv-03007-JS-AKT Document 242 Filed 11/21/19 Page 2 of 4 PageID #: 1399
 Hon. Joanna Seybert
 Nov. 21, 2019

 Support of Freeport Defendants’ Motion to Dismiss, DE # 169-1, ¶ 2 (“[T]he Village
 Defendants were not involved in the crux of the allegations contained in the Amended
 Complaint.”); Memorandum of Law in Support of Freeport Defendants’ Motion to
 Dismiss, DE #169-5, p. 1 (same); see also Freeport Initial Disclosures dated May 7,
 2019, annexed hereto as Exhibit 1 (identifying no witnesses); Affidavit of Howard E.
 Colton, DE #223, ¶ 3 (“[T]he Village is not aware of known witnesses other than the
 named defendants who have discoverable information in this matter.”).

        Based on conversations with Freeport’s counsel, the undersigned has suspected
 for some time that counsel had failed to reasonably investigate the underlying facts
 presented in this case before adopting the non-involvement position, as Rule 11
 requires. See, e.g., DE #219, p. 2; DE #241, p. 2.

 Motion to Strike

        Plaintiff has received essentially no disclosures from the Freeport defendants, but
 has received material from Nassau County. Within a production by the County was an
 audio recording. (Annexed as Exhibit 2 to the courtesy copy of this application.).

         The approximately 36-minute recording captures the June 6, 1994 interview of
 eyewitness Peter Baldwin (and his uncle) by Freeport Detective Arthur Zimmer (now
 deceased). In the first minute of conversation (beginning at 2:48 in the recording),
 Detective Zimmer explains, speaking of the investigation at issue in this litigation (into
 the March 1994 death of Steven Jason), “we’re kind of at a dead end,” with Zimmer
 describing the status of the investigation and the desire of investigators to solve the
 homicide. Later in the recording, (beginning at 31:09) Detective Zimmer describes how
 Nassau County Homicide investigators “sat in our Freeport headquarters for two weeks
 after the shooting [investigating the crime].” Throughout the recording, Zimmer refers
 to his ongoing work with Nassau County Homicide on the case.1 See, e.g., id. at 13:23;
 18:05; 27:18.

       Plaintiff respectfully submits that it is clear from this recording that the Freeport
 Police Department had direct and substantial involvement in the homicide
 1
   Upon information and belief, this recording was never previously disclosed to Mr. Jackson. This is
 consequential, given the exculpatory information conveyed by the witness to Detective Zimmer,
 including that the perpetrator was a five-foot-eight Puerto Rican (Mr. Jackson is a six-foot tall African
 American). Exhibit 2 at 13:52. Relevant to the Brady claim, Zimmer can be heard telling the witness
 that the conversation “never happened,” will be treated as “anonymous” and “never existed for court
 purposes.” Id. at 27:10-30:51.

                                                    2
Case 2:18-cv-03007-JS-AKT Document 242 Filed 11/21/19 Page 3 of 4 PageID #: 1400
 Hon. Joanna Seybert
 Nov. 21, 2019

 investigation and, indeed, appears to have committed a Brady violation with respect to
 the suppression of Exhibit 2. This broadly invalidates the merits arguments the Freeport
 defendants have presented to plaintiff and the Court throughout this litigation,
 including in their motion to dismiss. If it should please the Court, these circumstances
 are reminiscent of proceedings in another § 1983 action in this district handled by the
 undersigned, Martinez v. City of New York, in which defense counsel’s lack of due
 diligence led the Court to recommend severe sanctions when undisclosed documents
 later came to light. 16 CV 79 (AMD) (CLP), 2018 WL 604019 (E.D.N.Y. Jan. 24,
 2018) report and recommendation adopted in part 2018 WL 1835935 (E.D.N.Y. Apr.
 18, 2018).

        Plaintiff brought the above issues to the attention of Freeport’s counsel and
 requested that Freeport withdraw the offending submissions, but defense counsel has
 declined to do so. Accordingly, plaintiff respectfully requests that the Court disregard,
 and strike, those portions of the Freeport defendants’ Fed. R. Civ. P. 12 briefing that
 rely on the theory of non-involvement, including the declaration of Keith Corbett and
 affidavit of Miguel Bermudez. For the same reasons, plaintiff further requests that the
 Court strike the affidavit of Howard Colton.

 Motion to Amend

        As reflected in Exhibit 1 and described above, the Freeport defendants never
 disclosed the identity of Detective Arthur Zimmer or the role he and his Freeport
 colleagues played in the Steven Jason murder investigation. Upon plaintiff’s recent
 discovery of the recording, the undersigned requested Freeport’s consent to amend the
 pleadings. Counsel for Freeport does not dispute that Detective Zimmer, of the
 Freeport Police Department, is captured on the recording, but has declined to consent
 to the amendment. Nassau County takes no position on the application.

        According to Rule 15(a)(2) of the Federal Rules of Civil Procedure, “[t]he court
 should freely give leave [to amend] when justice so requires.” See Sanchez v. Local 660,
 United Workers of Am., 25 F. Supp. 3d 261, 268 (E.D.N.Y. 2014) (Seybert, J.). Plaintiff
 respectfully submits that the facts presented here strongly support granting plaintiff
 leave to amend.

        In light of the foregoing, plaintiff respectfully requests that the Court strike the
 merits arguments contained in the Freeport defendants’ briefing, including the affidavit
 of Miguel Bermudez and declaration of Keith Corbett, as well as the affidavit of Howard


                                             3
Case 2:18-cv-03007-JS-AKT Document 242 Filed 11/21/19 Page 4 of 4 PageID #: 1401
 Hon. Joanna Seybert
 Nov. 21, 2019

 Colton. Plaintiff further respectfully requests leave to add the Estate of Arthur Zimmer
 as a defendant and to include a Brady claim related to the suppression of Exhibit 2.

         Thank you for your consideration of this request.

                                             Respectfully submitted,

                                             Gabriel P. Harvis

 Encl.

 cc:     The Hon. Gary R. Brown (by Fedex w/ encl.)
         United States Magistrate Judge
         All Counsel (by e-mail w/o encl.)




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